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UNITED STATES DISTRICT COURT

  

DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

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SI TANKA UNIVERSITY,
CIVO05-3012
Appellant,
Vv. JUDGMENT OF DISMISSAL

UNITED STATES DEPARTMENT

OF EDUCATION,
Appellee.

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The Court having entered its Order on June 24, 2005, denying
the Appellant’s motion for leave to appeal, it is hereby

ORDERED AND ADJUDGED AND DECREED that this action be, and
hereby is, dismissed.

Dated this 24th day of June, 2005.

 
